          Uploaded on: 06/03/2025 at 01:07:32 PM (Eastern Daylight
                           Case 1:25-cv-11571-JEK          DocumentTime)13-2
                                                                         Base City:
                                                                               FiledCHE
                                                                                     06/13/25                                               Page 1 of 1




                                                             DEPARTMENT OF HOMELAND SECURITY
                                                         NOTICE OF CUSTODY DETERMINATION


                   Alien's Name: OLIVEIRA GOMEs, CUBJ:RsoN                                              A-File Number: 226 o, o 357
                                                                                                                                         - ------ - -
                                                                                                                           Date: 05/29/2025

                   EventlD: eos2505002323
                                                                                                     ----- - --- --- - - --
                                                                                          Subject ID: 398779359



                     Pursuant to the authority contained In section 236 of the Immigration and Nationality Act and part 236 of title 8, Code of
                     Federal Regulations, I have determined that, pending a final administrative determination in your case, you will be:
                         18) Detained by the Department of Homeland Security.
                         O Released (check all that apply):
                              D Under bond In the amount of $ _ _ _ __
                              0 On your own recogni nee.
                              D Underothe
                                                                                                               05/29/202 5 7:31 PM
                                                           orized Officer                        Date and Time of Custody Determination
                                                                                   Diotrict Ave aurllngton, NA US 01803
                     SDDO
                                                 Title                                                   Office Location/Address



                     You may request a review of this custody determination by an Immigration judge.
                            OCJ I acknowledge receipt of this notification, and
                                ~ I do request an immigration judge review of this custody determination.

                                D I do not request an immigration judge review of this custody determination.
                    ( \o\~s· &l,~
                    'L                       1gnature ofAl'1en
                                                                                                     05/29/2025
                                                                                                       Date




                    The contents of this notice were read to OLIVEIRA GONES, cLEBERSo N             In the                       PORTUGUESE                                   language.
                                                                        (Name of Alien)                      --""(N-:-a-m""e:.c.oc:,f,:;;L:;.;;a;.;;;ng;;;.;u""a-g....,e)~-

                   ZAMORA    R 11213
                                    Name                                                       Name or N"umberof                       rpre elf applicable)

                    Deportation Officer
                                                 Title
EOIR — 1 of 1




                   OHS Form 1-286 (1/14)                                                                                                                                      Page 1 of 1
